                   Case 23-11131-TMH           Doc 1096        Filed 01/05/24         Page 1 of 6




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                                                       (Jointly Administered)
          Debtors. 1
                                                       Re: Docket No. 1095

               LAVVAN, INC.’S MOTION FOR ENTRY OF AN ORDER
         SHORTENING NOTICE AND OBJECTION PERIODS WITH RESPECT TO
         MOTION OF LAVVAN, INC. PURSUANT TO BANKRUPTCY RULE 3018(a)
           FOR ESTIMATION AND TEMPORARY ALLOWANCE OF CLAIMS
           FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN

                    Lavvan, Inc. (“Lavvan”) respectfully represents as follows in support of this

motion (the “Motion to Shorten”):

                                               BACKGROUND

                    1.     On August 9, 2023 (the “Petition Date”), Amyris, Inc. (“Amyris”) and its

affiliated debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”) filed voluntary petitions in this Court commencing cases for relief under chapter 11 of

title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”). The Debtors

continue to manage and operate their businesses as debtors in possession under sections 1107 and

1108 of the Bankruptcy Code. No trustee or examiner has been requested in these cases.

                    2.     On December 7, 2023, the Debtors filed the Debtors’ Objection to Claim

Nos. 663 and 666 Filed by Lavvan, Inc. [Docket No. 839] (the “Claims Objection”) and the




1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.



RLF1 30406551V.1
                   Case 23-11131-TMH           Doc 1096        Filed 01/05/24        Page 2 of 6




Debtors’ Motion to Estimate Lavvan Intellectual Property Claims [Docket No. 840] (the “Motion

to Estimate”).

                    3.     On December 12, 2023, the Debtors filed the Second Amended Joint Plan

of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified [Docket No. 892]

(including all exhibits thereto and as amended, modified or supplemented, the “Plan”) and the

Disclosure Statement With Respect to Second Amended Joint Chapter 11 Plan of Reorganization

of Amyris, Inc. and Its Affiliated Debtors, as Modified [Docket No. 893] (the “Disclosure

Statement”).

                    4.     On December 13, 2023, the Court entered an order [Docket No. 897] (the

“Solicitation Procedures Order”) approving the Plan and Disclosure Statement on an interim

basis for solicitation purposes, and approving certain solicitation and vote tabulation procedures.

                    5.     On December 15, 2023, the Court entered an order [Docket No. 919] (the

“Confirmation Discovery Protocols Order”) approving a schedule and protocols governing

confirmation of the Plan and related discovery.

                    6.     Contemporaneously herewith, Lavvan filed the Motion of Lavvan, Inc.

Pursuant to Bankruptcy Rule 3018(a) for Estimation and Temporary Allowance of Claims for

Purposes of Voting to Accept or Reject the Plan [Docket No. 1095] (the “3018 Motion”).2

                    7.     As is set forth in greater detail in the 3018 Motion, by such motion, Lavvan

is seeking temporary allowance of its Claims solely for purposes of voting to accept or reject the

Plan, pursuant to rule 3018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).




2
     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the 3018 Motion.

                                                         2
RLF1 30406551v.1
                   Case 23-11131-TMH      Doc 1096     Filed 01/05/24      Page 3 of 6




                                          JURISDICTION

                    8.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated as of February 29, 2012. This matter is a core proceeding within

the meaning of 28 U.S.C. § 157(b)(2), and Lavvan confirms its consent pursuant to Rule 9013-1(f)

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”) to the entry of a final order by the Court in

connection with this Motion to Shorten to the extent that it is later determined that the Court, absent

consent of the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution. Venue is proper in the Court pursuant to 28

U.S.C. §§ 1408 and 1409.

                                       RELIEF REQUESTED

                    9.    By this Motion to Shorten, pursuant to section 105(a) of the Bankruptcy

Code, Rule 9006(c)(1) of the Bankruptcy Rules, and Local Rules 9006-1(c) and (e), Lavvan seeks

entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

shortening the notice and objection periods with respect to the 3018 Motion so that (a) the hearing

on the 3018 Motion is scheduled for January 17, 2024, at a time to be determined (prevailing

Eastern Time) (the “Hearing”) and (b) the deadline to file objections to the 3018 Motion is set as

January 12, 2024, at 4:00 p.m. (prevailing Eastern Time).

                                BASIS FOR RELIEF REQUESTED

                    10.   Local Rule 9006-1(c)(i) provides that, unless the Bankruptcy Rules or the

Local Rules state otherwise, “. . . all motion papers shall be filed and served in accordance with

Local Rule 2002-1(b) at least fourteen (14) days prior to the hearing date.” Local Rule 9006-1(e)



                                                  3
RLF1 30406551v.1
                   Case 23-11131-TMH      Doc 1096      Filed 01/05/24    Page 4 of 6




further provides in relevant part that “no motion will be scheduled on less notice than required by

these Local Rules or the Fed. R. Bankr. P. except by Order of the Court, on written motion . . .

specifying the exigencies justifying shortened notice.” Del. Bankr. L.R. 9006-1(e); see also Fed.

R. Bankr. P. 9006(c)(1) (“[T]he court for cause shown may in its discretion with or without motion

or notice order the period reduced.”). Local Rule 9006-1(c)(ii) requires that “the deadline for

objection(s) shall be no later than seven (7) days before the hearing date.” Del. Bank. L.R. 9006-

1(c)(ii).

                    11.   Lavvan submits that good cause exists to expedite consideration of the 3018

Motion. Pursuant to the Confirmation Discovery Protocols Order and the Solicitation Procedures

Order, the deadline for claimants to file rule 3018 motions is January 5, 2024 at 5:00 p.m.

(prevailing Eastern Time) so Lavvan has timely filed such a motion today. The Solicitation

Procedures Order also provides that the Court shall schedule a hearing on any 3018 motions filed

“for a date on or prior to the Confirmation Hearing.” Solicitation Procedures Order ¶ 23(d). There

is a pretrial confirmation conference (the “Pretrial Conference”) currently scheduled for January

17, 2024, at a time to be determined. See Confirmation Discovery Protocols Order ¶ 4. If the 3018

Motion is not heard at the Pretrial Conference, there will not be another opportunity for the 3018

Motion to be heard prior to the hearing for the Court to consider confirmation of the Plan (the

“Confirmation Hearing”), which is currently scheduled to begin on January 24, 2024. In order

for the Court to consider the 3018 Motion prior to the Confirmation Hearing, the 3018 Motion

should be heard at the Pretrial Conference. Accordingly, Lavvan respectfully submits that

consideration of the 3018 Motion on shortened notice as set forth herein is reasonable and

appropriate under the circumstances.




                                                   4
RLF1 30406551v.1
                   Case 23-11131-TMH       Doc 1096      Filed 01/05/24     Page 5 of 6




                          COMPLIANCE WITH LOCAL RULE 9006-1(E)

                    12.   Prior to filing this Motion to Shorten, and pursuant to Local Rule 9006-1(e),

counsel to Lavvan notified: (a) counsel to the Debtors, (b) counsel to the official committee of

unsecured creditors (the “Creditors’ Committee”), and (c) the Office of the United States Trustee

for the District of Delaware (the “U.S. Trustee”). The U.S. Trustee informed Lavvan that it does

not object to the relief requested herein. At the time this Motion to Shorten was filed, Lavvan had

not yet received a response from counsel to the Debtors and counsel to the Creditors’ Committee

regarding their positions with respect to the relief requested herein.

                                               NOTICE

                    13.   Notice of this Motion to Shorten will be provided to the same parties that

received service of the 3018 Motion. Lavvan respectfully submits that no further notice is

required.

                                     NO PREVIOUS REQUEST

                    14.   No previous request for the relief sought herein has been made by Lavvan

to this or any other court.

                    WHEREFORE Lavvan respectfully requests entry of the Proposed Order granting

the relief requested herein and such other and further relief as the Court may deem just and

appropriate.




                                                    5
RLF1 30406551v.1
                   Case 23-11131-TMH   Doc 1096     Filed 01/05/24    Page 6 of 6




Dated: January 5, 2024
       Wilmington, Delaware
                                              Respectfully submitted,

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                                              Cory D. Kandestin (No. 5025)
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RLF1 30406551V.1
